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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                       1/12/21
 WINDWARD BORA LLC,
                                                         20-CV-4748 (BCM)
                Plaintiff,
                                                         ORDER
 -against-
 CONSTANCE R. BROWNE, et al.
                Defendants.

BARBARA MOSES, United States Magistrate Judge.

       The Court will conduct a further telephonic status conference on February 16, 2021, at

11:00 a.m. At that time, the parties shall dial (888) 557-8511 and enter the access code 7746387.

No later than February 11, 2021, the parties shall file a joint status letter, updating the Court on

the status of discovery to date. The letter should also include the parties' positions as to whether a

judicially-supervised settlement conference would be productive, and if so, when.


Dated: New York, New York                      SO ORDERED.
       January 12, 2021


                                               ________________________________
                                               BARBARA MOSES
                                               United States Magistrate Judge
